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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                 Case No. No. 1:23-cv-22449-DPG

   QUANISHA BARFIELD,

           Plaintiff,
   v.

   AFFIRM, INC.; HEALTHCARE REVENUE
   RECOVERY GROUP, LLC dba Account
   Resolution Services; TD BANK USA, N.A.
   OPPORTUNITY FINANCIAL, LLC;
   EQUIFAX INFORMATION SERVICES,
   LLC; EXPERIAN INFORMATION
   SOLUTIONS, INC.; and TRANSUNION,
   LLC,

           Defendants.

        DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.’S ANSWER AND
                          AFFIRMATIVE DEFENSES

          COMES NOW Defendant Experian Information Solutions, Inc. (“Experian”), by and

  through its undersigned counsel, and answers Plaintiff Quanisha Barfield’s Complaint (the

  “Complaint”) as follows:1

                                         INTRODUCTION

          1.      In response to paragraph 1 of the Complaint, Experian admits that the Complaint

  purports to state claims under the Fair Credit Reporting Act (“FCRA”), 15 U.S.C. §§ 1681 et seq.,

  and the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §§ 1692 et seq. Experian denies

  that it has violated the FCRA, the FDCPA, or any other law relied upon by Plaintiff and denies

  that Plaintiff is entitled to any relief from Experian. Except as specifically admitted, Experian

          1 For ease of reference and to facilitate a review of its Answer and Defenses, Experian has

  attempted to incorporate into its Answer the primary headings used by Plaintiff in the Complaint,
  although Experian does not adopt, either expressly or by implication, any statements contained in
  those headings.
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  denies, generally and specifically, each and every remaining allegation of paragraph 1 of the

  Complaint that relates to Experian. As to the allegations in paragraph 1 of the Complaint that relate

  to other defendants, Experian does not have knowledge or information sufficient to form a belief

  as to the truth of those allegations and, on that basis, denies, generally and specifically, each and

  every remaining allegation of paragraph 1 of the Complaint.

                                    JURISDICTION AND VENUE

         2.      In response to paragraph 2 of the Complaint, Experian admits that Plaintiff has

  alleged jurisdiction pursuant to 15 U.S.C. § 1681p, 15 U.S.C. § 1692k(d), and 28 U.S.C. § 1331.

  Experian states that this is a legal conclusion, which is not subject to denial or admission.

         3.      In response to paragraph 3 of the Complaint, Experian admits that Plaintiff has

  alleged venue in this district is proper pursuant to 28 U.S.C. § 1391(b). Experian states that this is

  a legal conclusion, which is not subject to denial or admission. Experian admits that it is qualified

  to do business and conducts business in the State of Florida. Experian denies that it has violated

  the FCRA or caused Plaintiff to suffer any injury. Experian denies, generally and specifically, each

  and every remaining allegation of paragraph 3 of the Complaint that relates to Experian. As to the

  remaining allegations of paragraph 3 of the Complaint, Experian does not have knowledge or

  information sufficient to form a belief as to the truth of those allegations and, on that basis, denies,

  generally and specifically, each and every remaining allegation contained in paragraph 3 of the

  Complaint.

         4.      In response to paragraph 4 of the Complaint, Experian admits that Plaintiff has

  alleged that personal jurisdiction exists over Defendants. Experian states that this is a legal

  conclusion, which is not subject to denial or admission. As to the remaining allegations of

  paragraph 4 of the Complaint, Experian does not have knowledge or information sufficient to form




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  a belief as to the truth of those allegations and, on that basis, denies, generally and specifically,

  each and every remaining allegation contained in paragraph 4 of the Complaint.

                                               PARTIES

         5.        In response to paragraph 5 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.

         6.        In response to paragraph 6 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.

         7.        In response to paragraph 7 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.

         8.        In response to paragraph 8 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.

         9.        In response to paragraph 9 of the Complaint, Experian admits that it is a “consumer

  reporting agency” as defined by 15 U.S.C. § 1681a(f). Experian further admits that it is qualified

  to do business and conducts business in the State of Florida. Except as specifically admitted,

  Experian denies, generally and specifically, each and every remaining allegation of paragraph 9 of

  the Complaint.

         10.       In response to paragraph 10 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.




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         11.     In response to paragraph 11 of the Complaint, Experian admits that it is qualified

  to do business and conducts business in the State of Florida. Except as specifically admitted,

  Experian denies, generally and specifically, each and every remaining allegation of paragraph 11

  of the Complaint that relates to Experian. As to the allegations of paragraph 11 of the Complaint

  that relate to other defendants, Experian does not have knowledge or information sufficient to form

  a belief as to the truth of the allegations contained therein and, on that basis, denies, generally and

  specifically, each and every remaining allegation contained in paragraph 11 of the Complaint.

         12.     In response to paragraph 12 of the Complaint, Experian admits that it is a

  “consumer reporting agency” as defined by 15 U.S.C. § 1681a(f) and, as such, issues consumer

  reports as defined by 15 U.S.C. § 1681a(d). Except as specifically admitted, Experian denies,

  generally and specifically, each and every remaining allegation of paragraph 12 of the Complaint

  that relates to Experian. As to the allegations of paragraph 12 of the Complaint that relate to other

  defendants, Experian does not have knowledge or information sufficient to form a belief as to the

  truth of the allegations contained therein and, on that basis, denies, generally and specifically, each

  and every remaining allegation contained in paragraph 12 of the Complaint.

         13.     In response to paragraph 13 of the Complaint, Experian admits that it is a

  “consumer reporting agency” as defined by 15 U.S.C. § 1681a(f) and, as such, issues consumer

  reports as defined by 15 U.S.C. § 1681a(d). Except as specifically admitted, Experian denies,

  generally and specifically, each and every remaining allegation of paragraph 13 of the Complaint

  that relates to Experian. As to the allegations of paragraph 13 of the Complaint that relate to other

  defendants, Experian does not have knowledge or information sufficient to form a belief as to the

  truth of the allegations contained therein and, on that basis, denies, generally and specifically, each

  and every remaining allegation contained in paragraph 13 of the Complaint.




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         14.     In response to paragraph 14 of the Complaint, Experian admits that it is a

  “consumer reporting agency” as defined by 15 U.S.C. § 1681a(f) and, as such, issues consumer

  reports as defined by 15 U.S.C. § 1681a(d). Experian further admits that it is a “person” as defined

  by 15 U.S.C. § 1681a(b). Except as specifically admitted, Experian denies, generally and

  specifically, each and every remaining allegation of paragraph 14 of the Complaint that relates to

  Experian. As to the allegations of paragraph 14 of the Complaint that relate to other defendants,

  Experian does not have knowledge or information sufficient to form a belief as to the truth of the

  allegations contained therein and, on that basis, denies, generally and specifically, each and every

  remaining allegation contained in paragraph 14 of the Complaint

         15.     In response to paragraph 15 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.

         16.     In response to paragraph 16 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.

         17.     In response to paragraph 17 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.

         18.     In response to paragraph 18 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.




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         19.     In response to paragraph 19 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.

         20.     In response to paragraph 20 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.

                   FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

         21.     In response to paragraph 21 of the Complaint, Experian denies that it has violated

  the FCRA and denies that it has caused Plaintiff to suffer any harm. Experian denies, generally

  and specifically, each and every remaining allegation of paragraph 21 of the Complaint that relates

  to Experian. As to the allegations that relate to other defendants, Experian does not have

  knowledge or information sufficient to form a belief as to the truth of those allegations and, on that

  basis, denies, generally and specifically, each and every remaining allegation contained in

  paragraph 21 of the Complaint.

         22.     In response to paragraph 22 of the Complaint, Experian admits that it is a

  “consumer reporting agency” as defined by 15 U.S.C. § 1681a(f). Except as specifically admitted,

  Experian does not have knowledge or information sufficient to form a belief as to the truth of the

  remaining allegations and, on that basis, denies, generally and specifically, each and every

  remaining allegation contained in paragraph 22 of the Complaint.

         23.     In response to paragraph 23 of the Complaint, Experian admits that it is a

  “consumer reporting agency” as defined by 15 U.S.C. § 1681a(f) and, as such, issues “consumer

  reports” as defined by 15 U.S.C. § 1681a(d). Except as specifically admitted, Experian denies,

  generally and specifically, each and every remaining allegation of paragraph 23 of the Complaint

  that relates to Experian. As to the allegations in paragraph 23 of the Complaint that relate to other


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  defendants, Experian does not have knowledge or information sufficient to form a belief as to the

  truth of those allegations and, on that basis, denies, generally and specifically, each and every

  remaining allegation contained therein.

         24.     In response to paragraph 24 of the Complaint, Experian admits that Plaintiff

  purports to set forth portions of the FCRA, which speaks for itself, and denies any allegations

  inconsistent therewith. Except as specifically admitted, Experian denies, generally and

  specifically, each and every remaining allegation of paragraph 24 of the Complaint.

         25.     In response to paragraph 25 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.

         26.     In response to paragraph 26 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.

         27.     In response to paragraph 27 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.

         28.     In response to paragraph 28 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.

         29.     In response to paragraph 29 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.




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         30.     In response to paragraph 30 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.

         31.     In response to paragraph 31 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.

         32.     In response to paragraph 32 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.

         33.     In response to paragraph 33 of the Complaint, Experian denies that it has violated

  the FCRA or any other law relied upon by Plaintiff. As to the remaining allegations of paragraph

  33 of the Complaint, Experian does not have knowledge or information sufficient to form a belief

  as to the truth of those allegations and, on that basis, denies, generally and specifically, each and

  every remaining allegation contained in paragraph 33 of the Complaint.

         34.     In response to paragraph 34 of the Complaint, Experian denies that it has violated

  the FCRA or any other law relied upon by Plaintiff and denies that it has caused Plaintiff to suffer

  any harm. As to the remaining allegations of paragraph 34 of the Complaint, Experian does not

  have knowledge or information sufficient to form a belief as to the truth of those allegations and,

  on that basis, denies, generally and specifically, each and every remaining allegation contained in

  paragraph 34 of the Complaint.

                                        WRITTEN DISPUTE

         35.     In response to paragraph 35 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.


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         36.     In response to paragraph 36 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.

         37.     In response to paragraph 37 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.

         38.     In response to paragraph 38 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.

         39.     In response to paragraph 39 of the Complaint, Experian is without knowledge or

  information sufficient to form a belief as to the truth of the allegations contained therein and, on

  that basis, denies, generally and specifically, each and every allegation contained therein.

         40.     In response to paragraph 40 of the Complaint, Experian denies that it has violated

  the FCRA or any other law relied upon by Plaintiff. As to the remaining allegations of paragraph

  40 of the Complaint, Experian does not have knowledge or information sufficient to form a belief

  as to the truth of those allegations and, on that basis, denies, generally and specifically, each and

  every remaining allegation contained in paragraph 40 of the Complaint.

         41.     In response to paragraph 41 of the Complaint, Experian denies that it has violated

  the FCRA or any other law relied upon by Plaintiff. As to the remaining allegations of paragraph

  41 of the Complaint, Experian does not have knowledge or information sufficient to form a belief

  as to the truth of those allegations and, on that basis, denies, generally and specifically, each and

  every remaining allegation contained in paragraph 41 of the Complaint.




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          42.     In response to paragraph 42 of the Complaint, Experian is without knowledge or

   information sufficient to form a belief as to the truth of the allegations contained therein and, on

   that basis, denies, generally and specifically, each and every allegation contained therein.

          43.     In response to paragraph 43 of the Complaint, Experian is without knowledge or

   information sufficient to form a belief as to the truth of the allegations contained therein and, on

   that basis, denies, generally and specifically, each and every allegation contained therein.

          44.     In response to paragraph 44 of the Complaint, Experian denies that it has violated

   the FCRA or any other law relied upon by Plaintiff. As to the remaining allegations of paragraph

   44 of the Complaint, Experian does not have knowledge or information sufficient to form a belief

   as to the truth of those allegations and, on that basis, denies, generally and specifically, each and

   every remaining allegation contained in paragraph 44 of the Complaint.

          45.     In response to paragraph 45 of the Complaint, Experian is without knowledge or

   information sufficient to form a belief as to the truth of the allegations contained therein and, on

   that basis, denies, generally and specifically, each and every allegation contained therein.

          46.     In response to paragraph 46 of the Complaint, Experian denies that it has violated

   the FCRA or any other law relied upon by Plaintiff. As to the remaining allegations of paragraph

   46 of the Complaint, Experian does not have knowledge or information sufficient to form a belief

   as to the truth of those allegations and, on that basis, denies, generally and specifically, each and

   every remaining allegation contained in paragraph 46 of the Complaint.

          47.     In response to paragraph 47 of the Complaint, Experian is without knowledge or

   information sufficient to form a belief as to the truth of the allegations contained therein and, on

   that basis, denies, generally and specifically, each and every allegation contained therein.




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                           COUNT I –Equifax, Experian, and TransUnion

                      (Fair Credit Reporting Act Violation – 15 U.S.C. 1681e(b))

          48.     In response to paragraph 48 of the Complaint, Experian refers to and incorporates

   by reference its responses to the foregoing paragraphs as if fully set forth herein.

          49.     In response to paragraph 49 of the Complaint, Experian is without knowledge or

   information sufficient to form a belief as to the truth of the allegations contained therein and, on

   that basis, denies, generally and specifically, each and every allegation contained therein.

          50.     In response to paragraph 50 of the Complaint, Experian denies, generally and

   specifically, each and every allegation contained therein.

          51.     In response to paragraph 51 of the Complaint, Experian is without knowledge or

   information sufficient to form a belief as to the truth of the allegations contained therein and, on

   that basis, denies, generally and specifically, each and every allegation contained therein.

          52.     In response to paragraph 52 of the Complaint, Experian denies, generally and

   specifically, each and every allegation contained therein that relates to Experian. As to the

   allegations in paragraph 52 of the Complaint that relate to other defendants, Experian does not

   have knowledge or information sufficient to form a belief as to the truth of those allegations and,

   on that basis, denies, generally and specifically, each and every remaining allegation of paragraph

   52 of the Complaint.

          53.     In response to paragraph 53 of the Complaint, Experian denies, generally and

   specifically, each and every allegation contained therein that relates to Experian. As to the

   allegations in paragraph 53 of the Complaint that relate to other defendants, Experian does not

   have knowledge or information sufficient to form a belief as to the truth of those allegations and,




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   on that basis, denies, generally and specifically, each and every remaining allegation of paragraph

   53 of the Complaint.

          54.     In response to paragraph 54 of the Complaint, Experian denies, generally and

   specifically, each and every allegation contained therein that relates to Experian. As to the

   allegations in paragraph 54 of the Complaint that relate to other defendants, Experian does not

   have knowledge or information sufficient to form a belief as to the truth of those allegations and,

   on that basis, denies, generally and specifically, each and every remaining allegation of paragraph

   54 of the Complaint.

          55.     In response to paragraph 55 of the Complaint, Experian denies, generally and

   specifically, each and every allegation contained therein that relates to Experian. As to the

   allegations in paragraph 55 of the Complaint that relate to other defendants, Experian does not

   have knowledge or information sufficient to form a belief as to the truth of those allegations and,

   on that basis, denies, generally and specifically, each and every remaining allegation of paragraph

   55 of the Complaint.

          56.     In response to paragraph 56 of the Complaint, Experian admits that Plaintiff seeks

   reasonable costs and attorney’s fees from Experian in an amount to be determined by the Court

   pursuant to 15 U.S.C. § 1681n and/or § 1681o. Whether Plaintiff is entitled to costs or attorney’s

   fees is a legal conclusion that is not subject to denial or admission. To the extent a response is

   deemed required, Experian denies that Plaintiff is entitled to any relief against Experian. As to the

   allegations in paragraph 56 of the Complaint that relate to other defendants, Experian does not

   have knowledge or information sufficient to form a belief as to the truth of those allegations and,

   on that basis, denies, generally and specifically, each and every remaining allegation of paragraph

   56 of the Complaint.




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                          COUNT II – Equifax, Experian, and TransUnion

                        (Fair Credit Reporting Act Violation – 15 U.S.C. 1681i)

          57.     In response to paragraph 57 of the Complaint, Experian refers to and incorporates

   by reference its responses to the foregoing paragraphs as if fully set forth herein.

          58.     In response to paragraph 58 of the Complaint, Experian is without knowledge or

   information sufficient to form a belief as to the truth of the allegations contained therein and, on

   that basis, denies, generally and specifically, each and every allegation contained therein

          59.     In response to paragraph 59 of the Complaint, Experian denies, generally and

   specifically, each and every allegation contained therein.

          60.     In response to paragraph 60 of the Complaint, Experian is without knowledge or

   information sufficient to form a belief as to the truth of the allegations contained therein and, on

   that basis, denies, generally and specifically, each and every allegation contained therein.

          61.     In response to paragraph 61 of the Complaint, Experian denies, generally and

   specifically, each and every allegation contained therein that relates to Experian. As to the

   allegations in paragraph 61 of the Complaint that relate to other defendants, Experian does not

   have knowledge or information sufficient to form a belief as to the truth of those allegations and,

   on that basis, denies, generally and specifically, each and every remaining allegation of paragraph

   61 of the Complaint.

          62.     In response to paragraph 62 of the Complaint, Experian denies, generally and

   specifically, each and every allegation contained therein that relates to Experian. As to the

   allegations in paragraph 62 of the Complaint that relate to other defendants, Experian does not

   have knowledge or information sufficient to form a belief as to the truth of those allegations and,




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   on that basis, denies, generally and specifically, each and every remaining allegation of paragraph

   62 of the Complaint.

          63.     In response to paragraph 63 of the Complaint, Experian denies, generally and

   specifically, each and every allegation contained therein that relates to Experian. As to the

   allegations in paragraph 63 of the Complaint that relate to other defendants, Experian does not

   have knowledge or information sufficient to form a belief as to the truth of those allegations and,

   on that basis, denies, generally and specifically, each and every remaining allegation of paragraph

   63 of the Complaint.

          64.     In response to paragraph 64 of the Complaint, Experian denies, generally and

   specifically, each and every allegation contained therein that relates to Experian. As to the

   allegations in paragraph 64 of the Complaint that relate to other defendants, Experian does not

   have knowledge or information sufficient to form a belief as to the truth of those allegations and,

   on that basis, denies, generally and specifically, each and every remaining allegation of paragraph

   64 of the Complaint.

          65.     In response to paragraph 65 of the Complaint, Experian admits that Plaintiff seeks

   reasonable costs and attorney’s fees from Experian in an amount to be determined by the Court

   pursuant to 15 U.S.C. § 1681n and/or § 1681o. Whether Plaintiff is entitled to costs or attorney’s

   fees is a legal conclusion that is not subject to denial or admission. To the extent a response is

   deemed required, Experian denies that Plaintiff is entitled to any relief against Experian. As to the

   allegations in paragraph 65 of the Complaint that relate to other defendants, Experian does not

   have knowledge or information sufficient to form a belief as to the truth of those allegations and,

   on that basis, denies, generally and specifically, each and every remaining allegation of paragraph

   65 of the Complaint.




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                                          COUNT III – Affirm

                     (Fair Credit Reporting Act Violation – 15 U.S.C. 1681s-2(b))

          66.     In response to paragraph 66 of the Complaint, Experian refers to and incorporates

   by reference its responses to the foregoing paragraphs as if fully set forth herein.

          67.     In response to paragraph 67 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.

          68.     In response to paragraph 68 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.

          69.     In response to paragraph 69 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.

          70.     In response to paragraph 70 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.

          71.     In response to paragraph 71 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.

          72.     In response to paragraph 72 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.




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                                        COUNT IV – TD Bank

                     (Fair Credit Reporting Act Violation – 15 U.S.C. 1681s-2(b))

          73.     In response to paragraph 73 of the Complaint, Experian refers to and incorporates

   by reference its responses to the foregoing paragraphs as if fully set forth herein.

          74.     In response to paragraph 74 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.

          75.     In response to paragraph 75 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.

          76.     In response to paragraph 76 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.

          77.     In response to paragraph 77 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.

          78.     In response to paragraph 78 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.

          79.     In response to paragraph 79 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.




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                                       COUNT V – Opportunity

                     (Fair Credit Reporting Act Violation – 15 U.S.C. 1681s-2(b))

          80.     In response to paragraph 80 of the Complaint, Experian refers to and incorporates

   by reference its responses to the foregoing paragraphs as if fully set forth herein.

          81.     In response to paragraph 81 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.

          82.     In response to paragraph 82 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.

          83.     In response to paragraph 83 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.

          84.     In response to paragraph 84 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.

          85.     In response to paragraph 85 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.

          86.     In response to paragraph 86 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.




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                                           COUNT VI – ARS

                     (Fair Credit Reporting Act Violation – 15 U.S.C. 1681s-2(b))

          87.     In response to paragraph 87 of the Complaint, Experian refers to and incorporates

   by reference its responses to the foregoing paragraphs as if fully set forth herein.

          88.     In response to paragraph 88 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.

          89.     In response to paragraph 89 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.

          90.     In response to paragraph 90 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.

          91.     In response to paragraph 91 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.

          92.     In response to paragraph 92 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.

          93.     In response to paragraph 93 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.




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                                          COUNT VII – ARS

                         (Fair Debt Collection Practices Act – 15 U.S.C. 1692e)

          94.     In response to paragraph 94 of the Complaint, Experian refers to and incorporates

   by reference its responses to the foregoing paragraphs as if fully set forth herein.

          95.     In response to paragraph 95 of the Complaint, Experian admits that Plaintiff

   purports to set forth a quotation from Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA,

   559 U.S. 573, 577 (2010). Experian affirmatively states that the case referenced speaks for itself

   as to its claims, defenses, and legal effect, and on that basis, denies any allegations of paragraph

   95 of the Complaint inconsistent therewith. Except as specifically admitted, Experian lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations in paragraph

   95 of the Complaint and, on that basis denies, generally and specifically, each and every remaining

   allegation of paragraph 95 of the Complaint.

          96.     In response to paragraph 96 of the Complaint, Experian admits that Plaintiff

   purports to set forth a quotation from Allen ex rel. Martin v. LaSalle Bank, N.A., 629 F.3d 364, 368

   (3d Cir. 2011). Experian affirmatively states that the case referenced speaks for itself as to its

   claims, defenses, and legal effect, and on that basis, denies any allegations of paragraph 96 of the

   Complaint inconsistent therewith. Except as specifically admitted, Experian lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations in paragraph 96 of the

   Complaint and, on that basis denies, generally and specifically, each and every remaining

   allegation of paragraph 96 of the Complaint.

          97.     In response to paragraph 97 of the Complaint, Experian admits that Plaintiff

   purports to set forth a quotation from Rosenau v. Unifund Corp., 539 F.3d 218, 221 (3d Cir. 2008).

   Experian affirmatively states that the case referenced speaks for itself as to its claims, defenses,

   and legal effect, and on that basis, denies any allegations of paragraph 97 of the Complaint


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   inconsistent therewith. Except as specifically admitted, Experian lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations in paragraph 97 of the Complaint and,

   on that basis denies, generally and specifically, each and every remaining allegation of paragraph

   97 of the Complaint.

          98.     In response to paragraph 98 of the Complaint, Experian admits that Plaintiff

   purports to characterize the FDCPA. Experian affirmatively states that the FDCPA speaks for

   itself and denies any allegations inconsistent therewith. Experian further admits that Plaintiff

   purports to cite to Lesher v. Law Offices of Mitchell N. Kay, PC, 650 F.3d 993,996 (3d Cir. 2011);

   Wilson, 225 F.3d at 354. Experian affirmatively states that the cases referenced speak for

   themselves as to their claims, defenses, and legal effect, and on that basis, denies any allegations

   of paragraph 98 of the Complaint inconsistent therewith. Except as specifically admitted, Experian

   lacks knowledge or information sufficient to form a belief as to the truth of the allegations in

   paragraph 98 of the Complaint and, on that basis denies, generally and specifically, each and every

   remaining allegation of paragraph 98 of the Complaint.

          99.     In response to paragraph 99 of the Complaint, Experian admits that Plaintiff

   purports to set forth quotations from Campuzano-Burgos v. Midland Credit Management, Inc.,

   550 F.3d 294,298 (3d Cir. 2008) and Clomon v. Jackson, 988 F.2d 1314, 1318 (2d Cir. 1993).

   Experian affirmatively states that the cases referenced speak for themselves as to their claims,

   defenses, and legal effect, and on that basis, denies any allegations of paragraph 99 of the

   Complaint inconsistent therewith. Except as specifically admitted, Experian lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations in paragraph 99 of the

   Complaint and, on that basis denies, generally and specifically, each and every remaining

   allegation of paragraph 99 of the Complaint.




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          100.    In response to paragraph 100 of the Complaint, Experian admits that Plaintiff

   purports to set forth a quotation from Caprio v. Healthcare Revenue Recovery Grp., LLC, 709 F.3d

   142, 148-49 (3d Cir. 2013). Experian affirmatively states that the case referenced speaks for itself

   as to its claims, defenses, and legal effect, and on that basis, denies any allegations of paragraph

   100 of the Complaint inconsistent therewith. Except as specifically admitted, Experian lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations in paragraph

   100 of the Complaint and, on that basis denies, generally and specifically, each and every

   remaining allegation of paragraph 100 of the Complaint.

          101.    In response to paragraph 101 of the Complaint, Experian admits that Plaintiff

   purports to characterize the FDCPA. Experian affirmatively states that the FDCPA speaks for

   itself and denies any allegations inconsistent therewith. Experian further admits that Plaintiff

   purports to set forth a quotation from Hamilton v. United Healthcare of Louisiana, Inc., 310 F.3d

   385, 392 (5th Cir. 2002). Experian affirmatively states that the case referenced speaks for itself as

   to its claims, defenses, and legal effect, and on that basis, denies any allegations of paragraph 101

   of the Complaint inconsistent therewith. Except as specifically admitted, Experian lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations in paragraph

   101 of the Complaint and, on that basis denies, generally and specifically, each and every

   remaining allegation of paragraph 101 of the Complaint.

          102.    In response to paragraph 102 of the Complaint, Experian admits that Plaintiff

   purports to characterize the FDCPA. Experian affirmatively states that the FDCPA speaks for

   itself and denies any allegations inconsistent therewith. Except as specifically admitted, Experian

   lacks knowledge or information sufficient to form a belief as to the truth of the allegations in




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   paragraph 102 of the Complaint and, on that basis denies, generally and specifically, each and

   every remaining allegation of paragraph 102 of the Complaint.

          103.    In response to paragraph 103 of the Complaint, Experian admits that Plaintiff

   purports to cite to set forth quotations from Randolph v. IMBS, Inc., 368 F.3d 726, 730 (7th Cir.

   2004) and Turner v. J.V.D.B. & Associates, Inc., 330 F.34 991, 995 (7th Cir. 2003). Experian

   affirmatively states that the cases referenced speak for themselves as to their claims, defenses, and

   legal effect, and on that basis, denies any allegations of paragraph 103 of the Complaint

   inconsistent therewith. Except as specifically admitted, Experian lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations in paragraph 103 of the Complaint and,

   on that basis denies, generally and specifically, each and every remaining allegation of paragraph

   103 of the Complaint.

          104.    In response to paragraph 104 of the Complaint, Experian admits that Plaintiff

   purports to characterize the FDCPA. Experian affirmatively states that the FDCPA speaks for

   itself and denies any allegations inconsistent therewith. Except as specifically admitted, Experian

   lacks knowledge or information sufficient to form a belief as to the truth of the allegations in

   paragraph 104 of the Complaint and, on that basis denies, generally and specifically, each and

   every remaining allegation of paragraph 104 of the Complaint.

          105.    In response to paragraph 105 of the Complaint, Experian does not have knowledge

   or information sufficient to form a belief as to the truth of those allegations and, on that basis,

   denies, generally and specifically, each and every allegation contained therein.

                           RESPONSE TO DEMAND FOR JURY TRIAL

          Experian admits that Plaintiff has demanded trial by jury on all issues triable.




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                               RESPONSE TO PRAYER FOR RELIEF

          Experian denies that it violated the FCRA and denies that Plaintiff is entitled to any

   damages or other relief against Experian as set forth in the prayer for relief, including all

   subsections. As to the allegations in the paragraph that relate to the other defendants, Experian is

   without knowledge or information sufficient to form a belief as to the truth of the allegations and,

   on that basis, denies, generally and specifically, each of the allegations in this paragraph that relate

   to the other defendants.

                                      AFFIRMATIVE DEFENSES

          In further response to Plaintiff’s Complaint, Experian hereby asserts the following

   affirmative defenses, without conceding that it bears the burden of persuasion as to any of them.

                                  FIRST AFFIRMATIVE DEFENSE

                                    (STATUTE OF LIMITATIONS)

          Experian is informed and believes and thereon alleges that all claims for relief in the

   Complaint herein are barred by the applicable statutes of limitation, including but not limited to

   15 U.S.C. § 1681p.

                                 SECOND AFFIRMATIVE DEFENSE

                              (TRUTH/ACCURACY OF INFORMATION)

          All claims against Experian are barred because all information Experian communicated to

   any third person regarding Plaintiff was true.

                                  THIRD AFFIRMATIVE DEFENSE

                               (FAILURE TO MITIGATE DAMAGES)

          Plaintiff has failed to mitigate her damages.




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                                FOURTH AFFIRMATIVE DEFENSE

                                                (LACHES)

          The Complaint and each claim for relief therein are barred by laches.

                                    FIFTH AFFIRMATIVE DEFENSE

                           (CONTRIBUTORY/COMPARATIVE FAULT)

          Experian is informed and believes and thereon alleges that any alleged damages sustained

   by Plaintiff were, at least in part, caused by the actions of Plaintiff herself and/or third parties and

   resulted from Plaintiff’s or third parties’ own negligence which equaled or exceeded any alleged

   negligence or wrongdoing by Experian.

                                    SIXTH AFFIRMATIVE DEFENSE

                                               (ESTOPPEL)

          Any damages which Plaintiff may have suffered, which Experian continues to deny, were

   the direct and proximate result of the conduct of Plaintiff. Therefore, Plaintiff is estopped and

   barred from recovery of any damages.

                                SEVENTH AFFIRMATIVE DEFENSE

                                          (UNCLEAN HANDS)

          The Complaint and each claim for relief therein that seeks equitable relief are barred by the

   doctrine of unclean hands.

                                 EIGHTH AFFIRMATIVE DEFENSE

                             (INTERVENING, SUPERSEDING CAUSE)

          Experian is informed and believes and thereon alleges that if Plaintiff sustained any of the

   injuries alleged in the Complaint, there was an intervening, superseding cause and/or causes

   leading to such alleged injuries and, as such, any action on the part of Experian was not a proximate

   cause of the alleged injuries.



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                                 NINTH AFFIRMATIVE DEFENSE

                                       (PUNITIVE DAMAGES)

          Plaintiff’s Complaint does not allege facts sufficient to rise to the level of conduct required

   to recover punitive damages, and thus all requests for punitive damages are improper.

                                TENTH AFFIRMATIVE DEFENSE

                            (EQUITABLE RELIEF NOT AVAILABLE)

          Equitable relief, including declaratory and injunctive relief, is not available to private

   plaintiffs under the Fair Credit Reporting Act.

                                        ELEVENTH DEFENSE

                                           (ARBITRATION)

          Plaintiff’s claims are barred to the extent that they are subject to an arbitration agreement.

          Experian reserves the right to assert additional affirmative defenses at such time and to

   such extent as warranted by discovery and the factual developments in this case.

                                           PRAYER FOR RELIEF

          WHEREFORE, Defendant Experian Information Solutions, Inc. prays as follows:

          (1)     That Plaintiff take nothing by virtue of the Complaint herein and that this action be

                  dismissed in its entirety;

          (2)     For costs of suit and attorneys’ fees herein incurred; and

          (3)     For such other and further relief as the Court may deem just and proper.




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   Dated: August 3, 2023                 Respectfully submitted,

                                         /s/ Maria H. Ruiz
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                                         Solutions, Inc.




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